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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the

                                                   Southern District
                                                __________  District of
                                                                     of Florida
                                                                        __________

                         HDPAC et al.,                           )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 1:24-cv-24617
                                                                 )
           The AMERICAN RED CROSS et al.,                        )
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) The American Red Cross
                                       431 18th Street, NW
                                       Washington, DC 20006




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Wil Morris, Esquire
                                       Morris Legal, LLC
                                       2800 Biscayne Blvd, Suite 530
                                       Miami, Florida 33137



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:        November 25, 2024
                                                                                     Signature of Clerk or Deputy Clerk
